The defendant was found guilty by a jury of operating a motor vehicle while his driving license was under suspension in violation of General Statutes 14-215. In this appeal the defendant claims that, in the absence of proof that he actually received notice of the suspension of his license, his conviction deprived him of his constitutional right to due process of law. He also claims error in a ruling admitting into evidence a certified copy of a motor vehicle department record when the certification bore only a rubber stamp purporting to be the signature of the commissioner of motor vehicles.
The defendant's driving license was suspended as of July 27, 1978, for failure to file an accident report as required by General Statutes 14-116. On October 15, 1978, the police department in Norwich was notified of the suspension in accordance with General Statutes 14-111 (d) and the defendant was arrested on the same day for operating his motor vehicle while his license was under suspension. There was no proof that the defendant had *Page 588 
actual notice of the suspension prior to his arrest. A certified copy of a notice of the suspension sent to the defendant at his address by the motor vehicle department was introduced in evidence and also a certified copy of the certified mail register maintained by the department.
General Statutes 14-111 (a) does not require personal service of a notice of suspension but provides that "a notice forwarded by registered or certified mail to the address of the person registered as owner or operator of any motor vehicle as shown by the records of the commissioner shall be sufficient notice to such person that the certificate of registration or operator's license is revoked or under suspension." The statute does not require that the notice be actually received.
The defendant claims1 that proof of receipt of notice of a license suspension or actual knowledge thereof is necessitated by the requirements of due process of law for a conviction. It is clear that a driving license is an important interest which cannot be taken away "without that procedural due process required by the Fourteenth Amendment." Bell v. Burson, 402 U.S. 535, 539, 91 S. Ct. 1586,29 L. Ed. 2d 90 (1971). The constitutional requirement is not, however, that notice be actually delivered to the person involved, but that the statutory procedure for giving notice create a "reasonable probability that he will receive actual notice." Hartley v. Vitiello, 113 Conn. 74,78, 154 A. 255 (1931). We think the provision for notice by registered or certified mail adequately fulfills this requirement. Wuchter v. Pizzutti,276 U.S. 13, 24, 48 S. Ct. 259, 72 L. Ed. 446
(1928).
The defendant objected to the introduction of the certified copies of the motor vehicle department *Page 589 
records upon the ground that the purported signature of the commissioner on the certification had been placed thereon with a rubber stamp. "Any certified copy of any document or record of the commissioner, attested as a true copy by the commissioner, deputy commissioner or chief of a division, shall be competent evidence in any court of this state of the facts therein contained." General Statutes 14-3. To attest means "[t]o bear witness to; . . . to affirm to be true or genuine." McGuire v. Church, 49 Conn. 248, 249 (1881).
The signature of the commissioner in his own hand would obviously be a sufficient attestation under the statute. City Lumber Co. v. Borsuk,131 Conn. 640, 646, 41 A.2d 775 (1945). A signature by means of a rubber stamp would also fulfill the requirement. "In the absence of any express or implied requirement of law that one shall subscribe a writing with his Own hand, he may properly sign it by means of such a stamp used by himself or by another at his direction." Deep River National Bank's Appeal, 73 Conn. 341, 346,47 A. 675 (1900).
"`Commissioner' includes the commissioner of motor vehicles, the deputy commissioner of motor vehicles, the attorney general and any assistant to the commissioner of motor vehicles designated and authorized by him as hereinafter provided, while such assistant is acting for the commissioner of motor vehicles under such designation." General Statutes 14-1 (8). "The commissioner may properly designate employees appointed by him to perform administrative tasks necessary to the discharge of the commissioner's duties." Dan M. Creed, Inc. v. Tynan, 151 Conn. 677,680, 202 A.2d 239 (1964); General Statutes4-8. The certification of a copy is not a "peculiarly personal" act required to be performed by the designated individual or official himself, such as taking an oath or the *Page 590 
performance of a quasi-judicial duty. State v. Tedesco, 175 Conn. 279, 287, 397 A.2d 1352 (1978); Dan M. Creed, Inc. v. Tynan, supra, 679.
The commissioner is obliged to keep a record of licenses suspended by him and to furnish certified copies of documents relating thereto to state officials. General Statutes 14-3. Public officials are presumed to have performed their duties until the contrary appears. Balch Pontiac-Buick, Inc. v. Commissioner of Motor Vehicles, 165 Conn. 559,568, 345 A.2d 520 (1973). The state was entitled to rely upon this presumption as establishing prima facie that the certification had been made by the commissioner, and was not bound to offer testimony to such effect. Wofsey v. New York 
Stamford Ry. Co., 106 Conn. 254, 257, 138 A. 136
(1927). This presumption permits the inference that the rubber stamp signature of the commissioner was placed on the certification by an employee of the motor vehicle department duly authorized by the commissioner to perform that function. The documents, therefore, were "attested" as true copies by the "commissioner" as required by the statute for admissibility.
The objection of the defendant was properly overruled.
  There is no error.
PARSKEY, J., concurred in this opinion.